UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF VIRGINIA

Charlottesville Division

ELIZABETH SINES, et al.,

Plaintiffs,

vs. § Case No. 3:17-cv-00072-NKM
JASON KESSLER, et al., .

Defendants.

DEFENDANT SPENCER’S OPPOSITION TO MOTION FOR SANCTIONS AGAINST
DEFENDANT VANGUARD AMERICA

I. Introduction

Plaintiffs' Motion for Sanctions Against Defendant Vanguard
America (Vanguard) should be denied to the extent that it seeks
sanctions that would adversely affect the defense of Defendant
Richard B. Spencer (Mr. Spencer). Mr. Spencer has not violated
any court order, is not the subject of any motion for sanctions
and should not be saddled with the consequence of any alleged
defiance of this Court's orders by Vanguard.

II. Facts

Plaintiffs accuse Vanguard of defying this Court's

discovery-related orders.l Nowhere, however, do they accuse Mr.

Spencer of any such defiance.

 

P|aintiffs' Motion for Sanctions Against Defendant Vanguard America (hereinafter "Motion") at pp. 6-13.
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Yet Plaintiffs seek sanctions that are not tailored to
Vanguard, but instead seek sanctions that would apply to all
Defendants, including Mr. Spencer.

Plaintiffs seek the following:

l. "[t]hat the Court deem the facts listed in the attached
Exhibit l established for purposes of this action";2

2. "[th]at the Court deem 'authentic' for purposes of
satisfying Rule 901 of the Federal Rules of Evidence any
documents Plaintiffs have a good faith basis to believe were in
fact created by Defendant VA, including, but not limited to, all
documents from the social media accounts listed in Exhibit l";

3. "[t]hat the Court instruct the jury that ... such
documents contain evidence that Defendant VA conspired to plan
racially-motivated violence at the Unite the Right event."3

In Exhibit l, Plaintiffs list various "facts" that they
want the Court to deem established "for purposes of this action"
and various categories of documents -- none attached or
otherwise identified4 -- that they want the Court to deem
authentic.5

Plaintiffs do not in any way limit the proposed findings of

fact to their case against Vanguard; they specifically request

 

2 Motion at p. 2.
3 /d.
4 For examp|e, Plaintiffs do not identify any documents by Bates numbers, so Mr. Spencer does not even know
whether any of the referenced documents Were produced, let alone know what their content is.
5 Exhibit 1 at p. 1.
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that the putative facts be "established for purposes of this

action."6

Nor do they propose to limit any determination of
authenticity to their case against Vanguard.
III. Argument

A. The Purpose of Rule 37 is to Authorize
Sanctions Against a Non~Compliant Party.

Rule 37, Fed. R. Civ., provides, in pertinent part, that,

[i]f a party ... fails to obey and order to

provide or permit discovery ... the court where
the action is pending may issue further just
order.

Rule 37(b(2).

Thus, sanctions may be levied under Rule 37 only against a
party that fails to obey an order or to permit discovery. See
Mutual Federal Savings and Loan Association vs. Richards &
Associates, Inc., 872 F.2d 88, 92 (4th Cir. l989)("Rule 37(d)
... gives the district court wide discretion to impose sanctions
for a party's failure to comply with its discovery orders.").

B. Sanctions Against a Non-Compliant Party
Should Not Adversely Affect Another Party.

In determining what sanctions to impose on a non-compliant

party, the Court should consider the impact of such sanctions on

 

6 ln Plaintiffs' Reply to Defendant Spencer's Opposition to l\/lotion for Sanctions Against Defendants Kline and

Heimbach (hereinafter the "K|ine Response"), Plaintiffs argue that "the requested sanctions are each limited by
their terms to apply exclusively to Kline and Heimbach" -- an argument they likely would make in connection with
the instant motion -- but the fact is that, in both |V|otions, Plaintiffs do not, on the face of their argument, ask that
sanctions be limited in effect to the allegedly recalcitrant Defendants. lnstead, they say, broadly, that their desired
findings of fact be deemed established "for purposes of this action."

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another party that either is not in violation of a court order
or, although in violation of an order, is not as culpable as
another non-compliant party, Cf. Li vs. A Perfect Day
Franchise, Inc., 281 F.R.D. 373, 392 (N.D. Cal. 2012)(court
denied request for entry of default judgment against various
defendants that were "not equally culpable for the discovery
violations that have occurred," observing that "[e]ntering
default judgments against all Defendants except Jin Qiu would be
an over-inclusive remedy, and would potentially allow Plaintiffs
to obtain a windfall without ever reaching the merits of the
wage and hour claims").
Analysis
l. Mr. Spencer Has Met His Discovery Obligations.

Although Plaintiffs are wont to refer to Defendants
collectively when criticizing a particular allegedly
recalcitrant Defendant, they have not alleged that Mr. Spencer
has failed to meet his discovery-related obligations.

2. Yet Plaintiffs Impermissibly Seek Findings of Fact That
Would Eviscerate Mr. Spencer's Defenses.

Plaintiffs seek determinations that would negate Mr.
Spencer's defenses.
For example, Plaintiffs ask this Court to find that

Vanguard:

l. "entered into an agreement with one or more co-
conspirators to plan the Unite the Right event that took place
in Charlottesville, Virginia on August ll and 12, 2017;"7

2. "entered into an agreement with one or more co-
conspirators to engage in racially motivated violence in
Charlottesville, Virginia on August ll, 2017" and on August 12,
2017;8

3. was "motivated by animus against racial minorities,
Jewish people, and their supporters when conspiring to engage in
acts of intimidation and violence on August ll and 12, 2017 in
Charlottesville, Virginia";9

4. "[i]t was reasonably foreseeable to [it] and intended
by [it] that co-conspirators would commit acts of racially-
motivated violence and intimidation at the torch light event in
Charlottesville, Virginia on August ll, 2017" and on August 12,
2017,~10

5. "[i]t was reasonably foreseeable to [it] and intended
by [it] that a co-conspirator would engage in racially-motivated
violence by intentionally ramming a car into a crowd of
counterprotesters on August 12, 20l7."ll

In short, they ask the Court to find as follows:

 

7 Exhibit 1 at p. 1 at |tem 1.

Exhibit 1 at p. 1 at |tems 2-3.
Exhibit 1 at pp 1 at |tem 4.
Exhibit 1 at p. 1 at ltems 5-6.
Exhibit 1 at p. 2 at |tem 7. ln addition, they ask the Court to find, "for purposes of this action," that Vanguard
committed certain acts "in furtherance of the conspiracy." Exhibit 1 at p. 2, ltems 8-11.
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ll

a. that a conspiracy existed;

b. that the conspiracy consisted of an agreement to engage
in racially, ethnically and religiously motivated violence; and

c. that it was foreseeable that a co-conspirator would
commit racially motivated violence, including driving a car into
counter-protesters.

All such findings are so broad as to sweep Mr. Spencer
within their ambit and would result in Mr. Spencer being
deprived of his rights to due process and trial by jury.12

No such instructions -- indeed, no instruction that
adversely affects Mr. Spencer -- is permissible under Rule 37

because Mr. Spencer is not even accused of any wrongdoing.13

 

12 Cf. Mutual Federa/ Savings and Loan Association vs. Richards & A$sociates, lnc., 872 F..2d 88, 92 (4th Cir.

1989)(assessment of nature of sanction is affected by defendants "right to a trial by jury and a fair day in
court")(citing Wi/son vs. Volkswagen ofAmerica, lnc., 561 F.2d, 494, 503-504 (4th Cir. 1977), cert. denied, 434 U.S.
1020 (1978)).

Query, too, whether Plaintiffs will ask the Court to instruct thejury of these proposed determinations lf any
such determinations were announced to the jury they would cause the jury to conclude that not only was there a
conspiracy of the sort that Plaintiffs allege, but that other persons, including Mr. Spencer, must have been part of
it.

13 ln the Kline Response, Plaintiffs argue that the "particular facts [that Plaintiffs want to be deemed established]
have no impact on whether [l\/|r.] Spencer -- or any other Defendant -- entered into, or had any involvement with,
any such agreement." Such an argument (which one presumes will be made in this matter) simply overlooks the
powerful impact on a jury of the Court's informing it that a conspiracy existed and that the conduct in issue was
motivated by racial animus.

(Nlr. Spencer will address Plaintiffs' argument about limiting instructions at oral argument.)

|n addition, in the Kline Response, although Plaintiffs observe that "it may be preferable that a jury hear that
evidence [of a racial-motivated conspiracy] through Kline and Heimbach themselves," Plaintiffs argue that, because
"it is Kline's and Heimbach's willful disobedience that has deprived us all of that possibility," the Court should give
short shrift to Mr. Spencer's arguments about prejudice. (Kline Response at p. 6.) Presumably, Plaintiffs would
make the same argument in connection with the instant motion.

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3. Plaintiffs Seek to Deny Mr. Spencer
the Ability to Object to Evidence.

Plaintiffs also ask the Court to disregard the Federal
Rules of Evidence and treat various unidentified (and, perhaps,
unproduced) documents as authentic -- including as against
Defendants other than Vanguard.

lndeed, they appear to go so far as to ask the Court to
treat as authentic anything they believe could have been created
by those Defendants -- without identifying the referenced
documents with specificity (such as that found in Rule 26
disclosures or exhibit lists), without setting forth some
foundation as to why they believe that Vanguard created the
documents and without explaining why non-recalcitrant
Defendants, such as Mr. Spencer, can be deprived of the right to
cross-examine a witness through whom such a document is to be
introduced and thereby challenge the alleged authenticity of the

documents.14

 

Plaintiffs are wrong. They can, for example, subpoena any Defendant for a deposition and obtain the testimony
they contend they otherwise would elicit from him. Such a method would both permit Plaintiffs to "make their
case" and allow Defendants to cross-examine witnesses whose testimony might be injurious to them (whether
directly or inferential|y).

indeed, it is Plaintiffs who would receive a windfall. Plaintiffs would be able to forego subpoenaing and
examining recalcitrant Defendants as adverse witnesses -- which they are still able to do notwithstanding the
alleged discovery abuses of those Defendants. And Defendants would be deprived of the ability to cross~examine
those Defendants.

4 Plaintiffs' request also implicates Fed. R. Civ. P. 801. Plaintiffs themselves argue that, without Vanguard
cooperating in discovery, they cannot ascertain who created the referenced documents; thus, they impliedly
acknowledge that the documents might have been created by someone who is not a defendant and who is not an
alleged co-conspirator. lf the Court were to deem the documents as authentic ( because putatively they were

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In so asking, Plaintiffs seek to deprive Mr. Spencer of his
right to due process, including his right to have the Court rule
on the authenticity of documents and his right to cross-examine
witnesses.15

4. There are Alternative Sanctions that Would Not
Result in a Deprivation of Mr. Spencer's Rights.

If this Court finds that sanctions against Vanguard are
warranted, this Court can appropriately sanction them without
depriving Mr. Spencer of his constitutional rights. For
example, the Court could "prohibit ... [them] from ... opposing
designated claims ... or from introducing designated matters in

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evidence or it could "render .. a default judgment against

[them] ."17

 

created by Vanguard), when in fact a non-party or non-conspirator created them, the Court would be admitting
hearsay. l\/lr. Spencer submits that this would deprive him of his right to a fair trial.

15 ln the Kline Response, Plaintiffs argue that Defendants could introduce evidence that a referenced document is

not authentic and could still object to introduction of a referenced document on other grounds. (Kline Response
at p. 8). Presumably, Plaintiffs would advance the same arguments here.

Notwithstanding any such potential, Plaintiffs would receive a windfall as against other Defendants if they obtain
the relief they seek. They would be relieved of the burdens of going forward and of proof with respect to the
authenticity of a proffered document; and, as noted, co-Defendants effectively would be deprived of a hearsay
objection because, in Plaintiffs' scenario, the Court would deem the referenced documents as having been
authored by a co-Defendant even absent proof of such authorship --that is, "in-court" proof which other
Defendants could challenge.

Finally, Mr. Spencer submits that the issue of any document's authenticity should be left to the trial judge, in part
because we do not know to what particular documents Plaintiffs refer and because of the innate complexity of
such evidentiary issues.

16 Ruie 37(b)(A)(ii).
17 Rule 37(b)(A)(vi).

lronically, although Plaintiffs argue that "severe
sanctions are warranted,"18 they decline to ask for the most
severe sanction -- a default judgment. lnstead, they ask for a
lesser sanction -- that the Court "deem certain facts
established that Plaintiffs have a good faith basis to believe
they would in fact establish if VA had produced its documents
and devices as required in this case."19
In arguing for such lesser sanctions, Plaintiffs
effectively argue that, in so doing, they seek adversely to
affect other Defendants, such as Mr. Spencer. For example, they
argue that
any sanction that does not impose a case-related
consequence would allow Defendants to avoid
accountability entirely simply by opting out
of the process, Defendants should not be awarded
for their disobedience.2c
III. Conclusion
For these reasons and those to be advanced at oral argument
herein, the Motion should be denied.

Respectfully submitted,

RICHARD B. SPENCER

 

18 |V|otion at p. 22.

19 ld
2° |Vlotion at p. 23 (emphases added).

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CERTIFICATE OF SERVICE
1 hereby certify that, on April 25, 2019, 1 filed the
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1 further certify that, on April 17, 2019, 1 served the
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